









Dismissed and Memorandum Opinion filed November 4, 2004









Dismissed and Memorandum Opinion filed November 4,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00813-CV

____________

&nbsp;

MICHAEL S.
GORBET, Appellant

&nbsp;

V.

&nbsp;

NORTHWOOD
LINCOLN‑MERCURY AND DAVID KEILSON, Appellee

&nbsp;



&nbsp;

On Appeal from the
190th District Court

Harris County,
Texas

Trial Court Cause No.
02-60965

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed May 18, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On September 24, 2004, notification was transmitted to all
parties of the Court=s intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 4, 2004.

Panel consists of Justices Yates,
Edelman, and Guzman.

&nbsp;





